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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

TERENCE LEE STOKES,

 

Plaintiff,
vs. No. 04~2900-Ml/P
SHELBY COUNTY, et al.,

Defendants.

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ORDER TO COMPLY WITH PLRA
OR
PAY FULL $150 CIVIL FILING FEE

 

Plaintiff Terence Lee Stokes, RNI number 82519, an inmate at
the Shelby County Detention Center1 in. Memphis, filed. a pro _§§
complaint pursuant to 42 U.S.C. § 1983 on November 4, 2004.

Under the Prison Litigation Reform Act of 1995 (“PLRA”), 28
U.S.C. § 1915(a)-(b), all prisoners bringing a Civil action must pay
the full filing fee of $150 required by 28 U.S.C. § 1914(a).2 The
statute merely provides the prisoner the opportunity to make a
“downpayment” of a partial filing fee and pay the remainder in
installments. _§§ McGore v. Wrigqlesworthrr 114 F.3d 601, 604 (Bth Cir.
1997) (“[w]hen an inmate seeks pauper status, the only issue is whether

the inmate pays the entire fee at the initiation of the proceeding or

 

1 The word “prison” is used in this order to refer to all places of
confinement or incarceration, including jails, penal farms, detention and
classification facilities, or halfway houses.

2 Effective March 7, 2005, the civil filing fee was increased to $250.

Because this action was filed prior to that date, the Plaintiff is only liab or
the $150 filing fee.

Thle document entered on the docket mg §§
wlth Flule 58 and/or 79(a) FHCP on

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over a period of time under an installment plan. Prisoners are no
longer entitled to a waiver of fees and costs.”).

In order to take advantage of the installment procedures, a
prisoner plaintiff must properly complete and submit to the district
court, along with the complaint, either Form 4 of the Appendix of Forms
found in the Federal Rules of Appellate Procedure, or an affidavit that
contains the same detailed information found in Form 4. McGore, 114
F.3d at 605. The prisoner must also submit a certified prison trust
fund account statement, showing all activity in his account for the six
months preceding the filing of the complaint, and specifically showing:

1) the average monthly deposits, and
2) the average monthly balance

for the six months prior to submission of the complaint, and
3) the account balance when the complaint was submitted.

In this case, the Plaintiff has not submitted either an ip
fp;m§ pauperis affidavit or a certified trust fund account statement.
Therefore, at the present time, Plaintiff is not eligible to take
advantage of the installment payment procedures of § 1915(b). Plaintiff
is, however, liable for the full $150 filing fee, which accrued at the
moment the complaint was filed. Accordinglyg Plaintiff' is hereby
ORDERED to submit an ip fp;ma pauperis affidavit and a certified copy
of his trust fund account statement or the full $150 civil filing fee
to the following address within thirty (30) days after the date of
entry of this order:

Clerk, United States District Court, Western District of
Tennessee, 167 N. Main, Room 242, Memphis, TN 38103

If Plaintiff needs additional time to file the required

documents, he may request one thirty"day extension of time from this

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Court. McGore, 114 F.3d at 605. If Plaintiff fails to file the required
documentation, the Court will assess the entire filing fee, without
regard to the installment payment procedures, and will dismiss the
action, pursuant to Fed. R. Civ. P. 41(b), for failure to prosecute.
ld; If dismissed under these circumstances, the case will not be
reinstated despite the subsequent payment of the full filing fee and
regardless of any request for pauper status.

If Plaintiff timely submits the proper documentation, and.the
Court finds that Plaintiff is indeed indigent, then he may take
advantage of the installment procedures of § l915(b). In such case,
Plaintiff will be able to make an initial partial payment equal to 20%
of the greater of the average monthly deposits to his trust fund
account for the past six months or the average monthly balance in his
account for the past six nmnths. After collection of the initial
partial filing fee, the remaining balance will be collected in monthly
installments equal to 20% of the income credited to the Plaintiff’s
account during the preceding months. These monthly payments, however,
will be withdrawn only when Plaintiff’s account balance exceeds SlO.

The Clerk is ORDERED to provide the Plaintiff a copy of the

prisoner ip forma pauperis affidavit form along with this order.

IT IS SO ORDERED this ii day Of May, 2005.

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JoN PHIPPS MccALLA
UN ED sTATEs DISTRICT JUDGE

    

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 2 in
case 2:04-CV-02900 Was distributed by faX, mail, or direct printing on
May ]6, 2005 to the parties listed.

 

 

Terence Lee Stokes

SHELBY COUNTY CORRECTIONAL COl\/IPLEX
1045 Mullins Station Road

l\/lemphis7 TN 38134

Honorable J on McCalla
US DISTRICT COURT

